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                      UNITED STATES DISTRICT COURT FOR THE                                FILED ~
                       NORTHERN DISTRICT OF WEST VIRGINIA                                       V

                                                                                       OCT :i 2024
   UNITED STATES OF AMERICA,                                                      us. DISTRICT COURT. WVND
                                                                                    WHEBUNG WV 26003


                                                 Criminal No.                 ~   ~c~cI C.Y~’ ~,9
   V.


   DAVID WALTER MCCAULEY,                        Violations:                 18 U.S.C. § 2251(a)
                                                                      V      18 U.S.C. § 2251(e)
                              Defendant.                                     18 U.S.C. § 2252A(a)(5)(B)
                                                                             18 U.S.C. § 2252A(b)(2)




                                         INDICTMENT

        The Grand Jury charges that:

                                         COUNT ONE.

                               (Production of Child Pornography)

        On or about July 23, 2022 through July 31, 2022, in Upshur County within the Northern

District of West Virginia, the defendant, DAVID WALTER MCCAULEY, did knowingly

employ use, induce, entice, and coerce, John Doe   —   1, a 17 year-old boy at that time, to engage in

sexually explicit conduct for the purpose of producing any visual depiction of such conduct, which

visual depiction was intended to be transported in interstate commerce, and such visual depiction

was produced and transmitted using materials that have been mailed, shipped, and transported in

interstate or foreign commerce by any means, including by computer, all in violation of Title 18,

United States Code, Sections 2251(a) and (e).
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                                              COUNT TWO

                                    (Production of Child Pornography)

        On or about July31, 2022, in Upshur County within the Northern District of West Virginia,

 the defendant, DAVID WALTER MCCAULEY, did knowingly employ use, induce, entice, and

 coerce, John Doe   —   1, a 17 year-old boy at that time, to engage in sexually explicit conduct for the

purpose of producing any visual depiction of such conduct, which visual depiction was intended

to be transported in interstate commerce, and such visual depiction was produced and transmitted

using materials that have been mailed, shipped, and transported in interstate or foreign commerce

by any means, including by computer, all in violation of Title 18, United States Code, Sections

225 1(a) and (e).
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                                        COUNT THREE

                                (Possession of Child Pornography)

        On or about September 30, 2022, in Upshur County, within the Northern District of West

 Virginia, defendant DAVID WALTER MCCAULEY, did knowingly possess an image of child

 pornography, as defined in Title 18, United States Code Section 2256(8), which had been

 transported in interstate and foreign commerce by computer, all in violation of Title 18, United

 States Code, Sections 2252A(a)(5)(B) and (b)(2).
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                                                                                            FORFEITURE ALLEGATION

                                                                                            (Sexual Exploitation of Children)

                                           Pursuant to Title 18, United States Code, Section 2253, the government will seek the

                            forfeiture of property as part of the sentence imposed in this case; that is, the forfeiture of any

                            visual depiction described in Section 2251, 225 1A, 2252, 2252A, 225213, or 2260 of Chapter 110

                            of Title 18, any book, magazine, periodical, film, videotape, or other matter which contains any

                            such visual depiction, which was produced, transported, mailed, shipped or received in violation

                           of this chapter, any property, real or personal, used or intended to be used to commit or to promote

                           the commission of such offense or any properly traceable to such property, and any property, real

                           or personal, constituting or traceable to gross profits or other proceeds obtained from a violation

                           of Title 18, United States Code, Section 2252A, including the following item seized from the

                           defendant:

                                          1.     HP Pavilion 27 All-in-one PC, Model: 27-d0080, S/N: 8C00420699;
                                          2.     Black Apple iPhone SE(A2275); IMEI 356476103184406;
                                          3.     White/gold Apple iPhone 6S(A1633); IMEI 355683070708726;
                                          4.     Printed photographs (2) of nude minor males; and
                                          5.     DVD with handwritten label “#15” in marker.


                                                                                                               A True Bill,

                                                                                                                /5/
                                                                                                               Grand Jury Foreperson

                          /s/
                          WILLIAM IHLENFELD
                          United States Attorney

                           Kimberley D. Crockett
                           Assistant United States Attorney

                          Morgan McKee
                          Assistant United States Attorney
